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   SCHEDULE
      A
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                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


          The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved December 27, 2020, as Public Law 116-

260, div. F, tit. II, 134 Stat. 1452, which appropriated the funds that shall be used for the

taking.
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   SCHEDULE
       B
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                                      SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to conduct surveying, testing,

and other investigatory work needed in consideration of any plan for proposed construction

of border barrier, including gates and power to operate such gates as well as roads that will

be required to construct, operate, and maintain the border barrier.
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   SCHEDULE
      C
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                                      SCHEDULE C

                                 LEGAL DESCRIPTION

                                    Starr County, Texas

Tract: RGV-RGC-1007
Owner: Florentino Luera
Acres: 34.38

Parcel S-14-Q, Abstract 289, Porcion 58, Mier Jurisdiction, Starr County, Texas,
containing 34.38 acres of land, more or less, as shown on that certain Plat of Parcel No. 14,
which is recorded in Volume 1, Page 112 of the Maps Records of Starr County, Texas.
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    SCHEDULE
        D
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                                                                    Tract: RGV-RGC-1007
                                      SCHEDULE D

                                       MAP or PLAT


                              LAND TO BE CONDEMNED




Tract: RGV-RGC-1007
Owner: Florentino Luera
Acreage: 34.38

* The case caption identifies acreage for the entire parent tract; access to the entire parent
tract may be necessary to complete a survey of the proposed tract outlined in red on the
map above.
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     SCHEDULE
         E
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                                        SCHEDULE E

                                       ESTATE TAKEN

                                      Starr County, Texas

 Tract: RGV-RGC-1007
 Owner: Florentino Luera
 Acreage: 34.38

         The estate taken is a temporary, assignable easement beginning on the date
 possession is granted to the United States and ending 12 months later, consisting of the
 right of the United States, its agents, contractors, and assigns to enter in, on, over and across
 the land described in Schedule C to survey, make borings, and conduct other investigatory
 work for the purposes described in Schedule B and to access adjacent lands; including the
 right to trim or remove any vegetative or structural obstacles that interfere with said work;
 reserving to the landowners, their successors and assigns all right, title, and privileges as
 may be used and enjoyed without interfering with or abridging the rights hereby acquired;
 subject to minerals and rights appurtenant thereto, and to existing easements for public
 roads and highways, public utilities, railroads and pipelines.
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      SCHEDULE
          F
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                                      SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION



    The sum estimated as just compensation for the land being taken is ONE HUNDRED

 DOLLARS AND NO/100 ($100.00), to be deposited herewith in the Registry of the Court

 for the use and benefit of the persons entitled thereto; and, an additional sum determined

 at the conclusion of the temporary estate described in Schedule E to constitute actual

 damages, if any.
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      SCHEDULE
         G
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                                     SCHEDULE G

                                INTERESTED PARTIES

 The following table identifies all persons who have or claim an interest in the property
 condemned and whose names are now known, indicating the nature of each person’s
 property interest(s) as indicated by references in the public records and any other
 information available to the United States. See Fed. R. Civ. P. 71.1(c).

  Interested Party                            Reference
  Florentino Luera                            RGV-RGC-1007
                                              Warranty Deed, 1998-200518;
  Roma, TX                                    December 18, 1998,
                                              Deed Records of Starr County, Texas

                                              Opinion and Order, Dkt No. 183, Civil
                                              Action 7:20-CV-00425; September 13,
                                              2021, District Judge Micaela Alvarez
                                              finds that Florentino Luera is the sole
                                              owner of Parcel S-14-Q, by virtue of
                                              adverse possession.
